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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

GOD’S STOREHOUSE TOPEKA CHURCH                        )
                                                      )
                       Petitioner,                    )
                                                      )
v.                                                    )      Case No. 22-cv-4014
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                  Respondent.                         )
____________________________________                  )

            VERIFIED PETITION TO QUASH INTERNAL REVENUE SERVICE
                            THIRD-PARTY SUMMONS

       COMES NOW Petitioner God’s Storehouse Topeka Church (“God’s Storehouse” or

“Church”), by and through counsel Kriegshauser Ney Law Group, and respectfully petitions this

Court to quash the improper and invalid administrative summons issued by the Internal Revenue

Service (“IRS”) to Kaw Valley Bank. In support of its Petition, God’s Storehouse states the

following.

                                 NATURE OF THE MATTER

       1.      This matter involves an IRS examination into God’s Storehouse’s status as a

church for federal tax purposes. As detailed below, God’s Storehouse has volunteered ample

evidence for the last nine months to prove its qualification as a church and to resolve the tax

concerns raised by the IRS (see list of Church-provided information at Paragraph 35). The IRS

has not provided a substantive response to any of these materials and now seeks to access all

financial transactions of the Church through an administrative summons to the Church’s bank,

Kaw Valley Bank. The information summoned is not necessary to assess the tax concerns

originally raised by the IRS and the manner in which the IRS initiated this examination suggests


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that the IRS has exceeded the proper bounds of its examination without justification such that

Petitioner now requests relief from the Court through this Petition.


                                  JURISDICTION AND VENUE

         2.     On February 8, 2022, IRS Agent Kesroy Henry issued an administrative summons

(the “Summons”) directed at Kaw Valley Bank with the approval of his supervisor. It is

currently unknown when Kaw Valley received the Summons, but the Petitioner received it the

morning of February 14, 2022. A true and correct copy of the Summons as it was delivered to

Petitioner is attached hereto as Exhibit A.

         3.     26 U.S.C. § 7609(h) confers jurisdiction upon the District Court in which the

person to whom an administrative summons issued by the IRS is directed as follows:

         The United States district court for the district within which the person to be summoned
         resides or is found shall have jurisdiction to hear and determine any proceedings brought
         under subsection (b)(2), (f), or (g). An order denying the petition shall be deemed a final
         order which may be appealed.

26 U.S.C. § 7609(h).

         4.     According to the Office of the Kansas Secretary of State, Kaw Valley Bank’s

Registered Address is 1110 N Kansas Ave., Topeka, KS 66608. Consequently, this is also the

address to which the Summons was sent. See Exhibit A. Accordingly, it is clear that Kaw

Valley Bank both resides and can be found in the District of Kansas.

                                          THE PARTIES

         5.     Petitioner God’s Storehouse Topeka Church is a not-for-profit corporation

incorporated in the State of Kansas. Its main address is 2111 SW Chelsea Dr., Topeka, KS

66614.




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       6.      Respondent United States of America, Internal Revenue Service of the

Department of Treasury is a federal government entity with agencies and offices throughout the

United States and is served both through the U.S. Attorney General (950 Penn. Ave., N.W.,

Washington, DC 20530-0001) pursuant to Fed. R. Civ. Pro. 4(i)(1)(B) and the U.S. Attorney’s

Office for the District of Kansas (444 S.E. Quincy, Suite 290, Topeka, KS 66683) pursuant to

Fed. R. Civ. Pro. 4(i)(1)(A).

       7.      IRS Agent Kesroy Henry’s mailing address is Department of the Treasury,

Internal Revenue Service, Tax Exempt and Government Entities, Exempt Organizations

Examinations, 7850 SW 6th Court/MS 7954, Plantation, FL 33324, and he can be reached

through email or fax to (888) 981-9387. A copy of this Petition will be sent by mail postage

prepaid, fax, and email.

       8.      Kaw Valley Bank is the party summoned. It is a Kansas bank registered with the

Kansas Secretary of State with a resident agent: Craig Heideman, 1110 N. Kansas Ave., Topeka,

KS 66608. A copy of this Petition will be sent by mail postage prepaid as well as by email.

                            FACTUAL HISTORY TO SUMMONS

        9.     Pastor Rick Kloos has served as a Christian minister for more than 30 years. In

2009, Pastor Kloos and his wife, Pastor Pennie Kloos, founded God’s Storehouse to reach the

people of Topeka, Kansas. Since then, the Church has operated as a Bible-believing Christian

church with a congregation that regularly worships together.

        10.    To further its mission to love God and love people, the Church operates a thrift

store ministry. The Church’s thrift store accepts donated goods and sells them to the public, a

long-standing and legally permissible practice for many tax-exempt, religious organizations. It




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also provides free clothing and furniture to individuals with significant financial hardships or

other challenging life situations.

        11.      The IRS initiated this examination after Pastor Kloos’s successful campaign for

the Kansas legislature in 2020, when he unseated Democratic incumbent Anthony Hensley, the

longest-serving legislator in Kansas history. As part of his campaign, Pastor Kloos independently

created and distributed campaign signs which stated: “RICK KLOOS KANSAS SENATE” and

“Founder of God’s Storehouse.”

        12.      Local press coverage,1 which quoted Pastor Kloos’s political opponent, developed

an argument that Pastor Kloos’ reference to himself as the founder of the Church may constitute

impermissible political endorsement by the Church.2 Pastor Kloos’s campaign created and paid

for these signs wholly independently of God’s Storehouse, and the use was solely for

identification purposes.3 The signs were reviewed by the State of Kansas Governmental Ethics

Commission prior to display, and the Commission rightly opined that the signs provided voters

with valuable context “regarding who you are and the nonprofit with which you are associated”

and approved them for use in the campaign.

        13.      On September 24, 2020, the Freedom from Religion Foundation (“FFRF”) filed a

complaint with the IRS4 alleging electioneering violations by the Kloos campaign. The FFRF


1
  See, e.g., Andrew Bahl, “‘I’ve never seen anything like this’: Kansas Senate candidate under fire for mixing
religion, politics,” The Topeka Capital-Journal (Sep. 25, 2020) available at
https://www.cjonline.com/story/news/politics/state/2020/09/25/lsquoirsquove-never-seen-anything-like-thisrsquo-
kansas-senate-candidate-under-fire-for-mixing-relig/114879660/ (last accessed Feb. 18, 2022).
2
  This argument is unavailing and irrelevant to this case. The sign utilized the Church’s name as a noun to identify
the Church as a legal entity and not in any manner as a trademark to identify the source of services or goods.
3
  Public campaign finance records verify this expenditure. See
http://ethics.ks.gov/CFAScanned/Senate/2020ElecCycle/SLinks2020EC.htm (last accessed Feb. 21, 2022).
4
  See “FFRF reports to IRS Kansas senatorial candidate’s religious politicking,” Freedom from Religion Foundation
Website (Sep. 24, 2020) available at https://ffrf.org/news/news-releases/item/37917-ffrf-reports-to-irs-kansas-
senatorial-candidate-s-religious-


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posted a copy of its complaint on its website. Although the complaint is no longer linked on the

FFRF website,5 a copy is attached as Exhibit B to this Petition. The complaint enclosed

screenshots of Pastor Kloos’s campaign signs and erroneously stated that Pastor Kloos planned

to hold a campaign event at another local church. The IRS has not produced this complaint or

acknowledged its existence.

        14.      On the basis of this complaint, the IRS initiated this examination on the IRS

Commissioner’s asserted “reasonable belief” that the Church may not be operating as a tax-

exempt organization and because of “concerns . . . that [the Church is] operating as a thrift shop

rather than as a church.”

        15.      The Summons at issue to Kaw Valley Bank demands production of: (1) Monthly

statements; (2) Deposit offsets (front and back); (3) Deposit tickets; (4) Cancelled checks (front

and back); (5) Signature cards; (6) Debit and credit memos; (7) Loan applications, including lines

of credit, and all documents related to loan(s); (8) Financial statements; (9) Safe deposit box entry

cards; (10) Cashier’s checks and applications; (11) Money orders; (12) Foreign and domestic

letters of credit and wires of funds along with related documents disclosing source of funds and,

for wires of funds, the destination of the funds along with any related correspondence; (13) Agency

agreements and correspondence; and (14) Closing transaction on the account (check, wire transfer,

etc. regardless of amount). See Exhibit A, Attachment A (emphasis included). The Summons

directs that all of these documents be produced from a period of January 1, 2019 through December

31, 2020.


politicking?utm_source=SocialMedia&utm_medium=Twitter&utm_campaign=IRSKloosSeptember242020&utm_c
ontent=PR (last accessed Feb. 18, 2022).
5
  See “Page not Found” Freedom from Religion Foundation Website (Sep. 24, 2020) available at
https://ffrf.org/uploads/luploads/legal/GodsStorehouseandAPlaceCalledThereChurchKS.pdf (last accessed Feb. 18,
2022).

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                     FACT AND LEGAL BASIS FOR QUASHING SUMMONS

       16.     The Internal Revenue Code makes it clear that the IRS must at all times use the

summons authority in good faith pursuit of a congressionally authorized purpose. The IRS has the

burden of showing that its investigation is pursuant to a legitimate purpose and that the information

sought is relevant and material to such legitimate purpose.

       17.     Upon information and belief, the IRS is using its summons powers in a manner

inconsistent with good faith pursuit of a congressionally authorized purpose.

       18.     A party receiving a summons from the IRS is entitled to contest it in an adversarial

enforcement proceeding. Donaldson v. United States, 400 U.S. 517, 525 (1971). These

proceedings are ordinarily summary in nature.

       19.     When enforcement of an IRS summons is challenged, the government must satisfy

all of the following elements: (i) that the summons was issued for a legitimate purpose; (ii) that

the inquiry may be relevant to that purpose; (iii) that the information sought is not already in

possession of the IRS; and, (iv) that the government has complied with the administrative steps

required by law with respect to the issuance and service of a summons. United States v. Powell,

379 U.S. 48, 57-58 (1964).

       20.     If the government satisfies its prima facie burden, the taxpayer retains the right to

challenge the IRS’s summons by disproving one or more of the Powell requirements or by

demonstrating that enforcement of the summons will result in abuse of the Court’s process. See

United States v. Rockwell Int’l, 897 F.2d 1255, 1262 (3d Cir. 1990); see also Wheeler v. United

States, 459 F. Supp. 2d 399, 402 (W.D. Pa. 2006).




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       21.     The Summons at issue is invalid and should be quashed because it fails at least

three of the four Powell criteria for enforcement of an administrative summons issued by the

Internal Revenue Service.

       22.     Additional restrictions on the IRS’s ability to conduct tax examinations and

inquiries into “churches” are imposed on the IRS pursuant to 26 U.S.C. § 7611.

       23.     First, 26 U.S.C. § 7611(a)(2) requires that “an appropriate high-level Treasury

official reasonably believes (on the basis of facts and circumstances recorded in writing) that the

church—

               (A) may not be exempt, by reason of its status as a church, from tax under section

               501(a), or

               (B) may be carrying on an unrelated trade or business (within the meaning of

               section 513) or otherwise engaged in activities subject to taxation under this title.”

26 U.S.C. § 7611(a)(2).

       24.     Even after the 26 U.S.C. § 7611(a)(2) reasonable belief factors are met, any such

inquiry or examination is to remain restricted after additional administrative notice requirements

are met “only – (A) in the case of church records, to the extent necessary to determine the

liability for, and the amount of, any tax imposed by this title, and (B) in the case of religious

activities, to the extent necessary to determine whether an organization claiming to be a church

is a church for any period.” 26 U.S.C.§ 7611(b)(1) (emphasis added).

       25.     Accordingly, the burden for the Summons at issue is higher than the mere

application of the Powell factors.




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   A. The Information Sought Is Beyond “To The Extent Necessary” to Make a
      Determination under 26 U.S.C. § 7611(b)(1).

       26.     The Church Audit Procedure Act, codified at 26 U.S.C. § 7611, circumscribes the

IRS’s ability to conduct investigations of churches. When conducting a church tax examination,

the IRS may examine church records only “to the extent necessary” to determine a tax liability

and may likewise examine a church’s religious activities only “to the extent necessary” to

determine whether an organization is a church. § 7611(b)(1)(A)-(B).

       27.     Two circuit courts have considered whether “to the extent necessary” in section

7611 places a higher burden on the IRS when examining churches than it faces when requesting

information from other entities. See United States v. Church of Scientology Western United

States, 973 F.2d 715 (9th Cir. 1992); United States v. Church of Scientology of Boston, Inc., 933

F.2d 1074 (1st Cir. 1991). Both concluded that the phrase restricts the scope of the government’s

inquiry. Id. The circuits reasoned that “to the extent necessary” imposes upon the IRS the burden

of showing “actual necessity for the documents it seeks, not merely alleging relevance.”

Scientology Western, 973 F.2d at 717. As then-Judge Breyer wrote for the First Circuit, the

phrase “requires the IRS to explain why the particular documents it seeks will significantly help

to further the purpose of the investigation.” Scientology Boston, 933 F.2d at 1079 (emphasis

added). To meet this burden, the IRS must explain the purpose behind its requests and show how

each category of requests falls “directly and logically within [the] proper scope” of the

examination. Scientology Western, 973 F.2d at 721.

       28.     The Ninth Circuit found that the IRS satisfied this burden when an agent “testified

in detail as to how each category of documents would significantly help to further the valid




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purposes behind the IRS investigation.” United States v. C.E. Hobbs Found. For Religious

Training & Educ., Inc., 7 F.3d 169, 172 (9th Cir. 1993).

       29.     In the case at bar, the IRS has failed to show how the documents it seeks are

necessary to its investigation and directly and logically within the proper scope of the

investigation. Furthermore, the breadth of the Summons cannot be supported “to the extent

necessary” all the items sought are needed to make a proper determination under Section 7611.

       30.     The Church here is unquestionably a “church” under applicable tax law and IRS

regulations. The applicable Tax Code provision is Section 170. The term “church” is not

specifically defined, however, in light of First Amendment protections for religious assembly

and practices in the United States.

       31.     In order to both respect applicable First Amendment parameters and to carry out

tax administration, the IRS has prescribed fourteen characteristics generally attributed to

churches to determine whether an organization is a “church” for federal tax purposes. The

characteristics include a distinct legal existence, a recognized creed and form of worship, a

definite and distinct ecclesiastical government, a formal code of doctrine and discipline, a

distinct religious history, a membership not associated with any other church or denomination,

an organization of ordained ministers, ordained ministers selected after completing prescribed

courses of study, a literature of its own, established places of worship, regular congregations,

regular religious services, Sunday schools for the religious instruction of the young, and schools

for the preparation of its members. Foundation of Human Understanding v. Commissioner, 88

T.C. 1341, 1357-58 (1987) (quoting Internal Revenue Manual 7(10)69, Exempt Organizations

Examination Guidelines Handbook 321.3(3) (Apr. 5, 1982)).




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       32.     The IRS uses these criteria along with other facts and circumstances to determine

whether an organization is a church for federal tax purposes. Id. Courts generally treat the above

criteria as a descriptive guide to the characteristics of a church rather than a mechanical test. See,

e.g., Foundation of Human Understanding v. United States, 614 F.3d. 1383, 1388 (Fed. Cir.

2010) (noting that even courts that rely on the fourteen criteria apply them “flexibly”); Spiritual

Outreach Soc’y v. Commissioner, 927 F.2d 335, 339 (8th Cir. 1991) (describing the criteria as “a

guide, helpful in deciding what constitutes a church”); United States v. Jeffries, 854 F.2d 254,

258 (7th Cir. 1988) (finding some of the IRS’s criteria “helpful” to distinguish churches from

other religious enterprises and other criteria “relatively minor”).

       33.     Each criterion need not be present for an organization to be a church. Foundation

of Human Understanding v. Comm’r, 88 T.C. at 1358 (“few traditional churches could meet all

of the criteria”). And courts consider some criteria more important than others when

distinguishing between churches and other religious enterprises. Spiritual Outreach, 927 F.2d at

339. Most important are the existence of an established congregation, the provision of regular

religious services, and the dissemination of a doctrinal code. Id.

       34.     Courts also employ the associational test when determining whether an entity is a

church under the Code. Like the most important of the above criteria, the associational test looks

to whether an organization fulfills its religious purpose by regularly providing opportunities for

congregants to worship together. Church of Eternal Life & Liberty, Inc. v. Commissioner, 86

T.C. 916, 924 (1986) (asking whether an entity “serve[s] an associational role in accomplishing

its religious purposes”). This is because “[a]t a minimum, a church includes a body of believers

or communicants that assembles regularly . . . to worship.” American Guidance Foundation v.

United States, 490 F. Supp. 304, 306 (D.D.C. 1980). Put differently, an organization is a church

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under the associational test if it regularly “create[s], as part of its religious activities, the

opportunity for members to develop a fellowship by worshiping together.” Foundation of Human

Understanding, 614 F.3d at 1389.

        35.       In good faith and in compliance with the IRS, the Petitioner has voluntarily

provided the following documents to the IRS, all clearly reflecting the Church’s legitimate status

as a church and obviating the need for additional necessary information to make this

determination:

              •   governing documents;

              •   a detailed history of the organization;

              •   a summary of its religious beliefs;

              •   detailed information concerning its regularly scheduled worship services

                  including photos;

              •   service dates for the last two years and order of worship;

              •   church member lists;

              •   tithing donation receipt records;

              •   pastoral biographical and educational information including ordination records

                  and licensing;

              •   responsive information providing the number of funerals administered during

                  2019 and 2020 with sample obituaries and service documents;

              •   extensive notes from pastors’ sermon and Bible studies conducted during the

                  2019 and 2020 fiscal years;

              •   history of its thrift store ministry selling donated home goods and clothing;



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             •    sample family assistance applications documenting the free provision of goods

                  and clothing to those in need during 2019 and 2020;

             •    minutes of 2019 and 2020 board meetings;

             •    compensation and housing allowance resolutions for the pastors;

             •    all payroll reports;

             •    IRS Form 941s;

             •    copies of all leases and mortgages;

             •    letters from the Church’s bank, insurance carrier, and accounting firm supporting

                  the Church’s ongoing operations as a Christian church;

             •    all sale, historical, and financial information associated with the sale of coffee and

                  cookies at the thrift store and church, including why the church believes the

                  activity is not operated for profit and contributes importantly to its exempt

                  purposes6; and

             •    a detailed explanation of why Pastor Kloos’s independent identification of himself

                  as the “founder of God’s Storehouse” on a political campaign yard sign, which

                  was vetted and approved in advance by the Kansas Ethics Commission and done

                  entirely independent of, and without any assets or financial involvement of the

                  Church, did not constitute impermissible political campaign activity by the

                  Church.7 Further, the IRS has full public access to the financial transactions


6
  While the Church asserts that the activity is not subject to any liability for unrelated business income tax arising
from its activities, the Church has provided the Service with all of the financial information necessary to assess any
income tax liability in this area.
7
  Section 501(c)(3) restricts organizations exempt under that section from “participat[ing] in, or interven[ing] in, any
political campaign.” However, under IRS Rev. Rul. 2007-41, the “political campaign intervention prohibition is not
intended to restrict free expression on political matters by leaders of organizations speaking for themselves, as


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                 conducted by the Kloos campaign8 and can easily verify that all yard signs were

                 purchased by the campaign.

        36.      Additionally, the Church invited the IRS to attend a worship service and to meet

with Pastor Kloos and the Church’s board. The IRS did not accept this invitation.

        37.      Given the detailed information already provided, the IRS has ample data to

determine whether the Petitioner qualifies or not as a “church” without obtaining all of the

information sought in the applicable third-party summons.

        38.      Furthermore, the Summons itself is overly broad, requesting signature cards and

access to any safe deposit boxes. These items are not necessary for the IRS’ determination of

“church” status.

        39.      The above information is more than adequate for the IRS to determine the

Petitioner’s status as a “church.” Upon information and belief, the third-party Summons at issue

is not issued “to the extent necessary” to make such a determination.

    B. The Examination Lacks a Legitimate Purpose.

        40.      The IRS initiated this church examination on the IRS Commissioner’s asserted

“reasonable belief” that the Church may not be operating as a tax-exempt organization and more

specifically because of a “concern that [the Church] is operating as a thrift shop rather than as a

church.” But this expressed concern constitutes a legally invalid basis for a church examination.



individuals.” In Situation 3, Rev. Ruling 2007-41 explicitly permits a candidate to use the name of a nonprofit
organization on a campaign sign. Like Pastor Kloos’s sign, the nonprofit’s name in Situation 3 was used solely to
identify an individual in terms of his role in the local community. The sign was not paid for or published by the
501(c)(3) and did not constitute an endorsement by the 501(c)(3). Because Pastor Kloos created the sign in his
individual capacity, with campaign funds, solely to identify himself as the founder of God’s Storehouse, the Church
did not in any way intervene, endorse, or otherwise participate in the Kloos campaign.
8
  All Kansas state campaigns must file campaign finance reports with the Kansas Ethics Commission including, but
not limited to, contributor and expenditure information. See
http://ethics.ks.gov/CFAScanned/Senate/2020ElecCycle/SLinks2020EC.htm (last accessed Feb. 21, 2022).

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More specifically, the sale of donated secondhand household goods and clothing items to the

public has been, and continues to be, a longstanding and historical tradition of many Christian

churches, associations of churches, and similarly religiously-motivated ministries throughout the

United States.

        41.      Venerable churches and religious groups such as the Salvation Army, Catholic

Charities, Society of St. Vincent de Paul, Lutheran Community Services; Goodwill Industries

(Methodist), Habitat for Humanity (nondenominational Christian organization, and Deseret

Industries (Church of Jesus Christ of Latter-Day Saints) all engage in substantial thrift store

activities. Indeed, Congress has consistently, in both the enactment of the unrelated business

income tax and through other actions, affirmed this practice.9 Likewise, long-standing IRS

rulings support such practice as a legally permissible activity of all 501(c)(3) organizations.10 In

fact, the IRS has never ruled that thrift store activities are an impermissible activity of a church

or that the receipt and sale of donated goods is somehow potentially subject to income tax

liability by a 501(c)(3) organization.

        42.      Based on the above initial considerations, the Church’s legally permissible thrift

shop activity does not constitute a legally valid reason for commencing a church examination as

to whether an organization is exempt as a church under 501(c)(3) under Section 7611(a)(1). The

IRS therefore should not proceed with its examination of the Church, in light of this legally

defective asserted basis for an IRS church examination.




9
  Tax exempt organizations are generally required to pay taxes on unrelated business income. However, the Internal
Revenue Code does not consider the “selling of merchandise, substantially all of which has been received by the
organization as gifts or contributions” an unrelated business for tax-exempt organizations. IRC § 513(a)(3).
10
   See, e.g., Rev. Rul. 71-581.

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        43.    In advance of the IRS examination and in a good faith effort to resolve these

issues, the Church provided extensive information and records under a sworn declaration of its

pastor and president, evidencing that the Church satisfies the most important characteristics of

churches as discussed above: it has an established congregation; it regularly conducts religious

services; and it disseminates its Christian teachings, etc. within the meaning of section

170(b)(1)(a)(i). The Church also provided detailed explanations and supporting materials

addressing all fourteen criteria the IRS utilizes to determine whether an organization is a

“church.”

        44.    Notwithstanding this conclusive information, the IRS continues to assert that it

has a “reasonable belief on the basis of facts and circumstances recorded in writing” that the

Church may not be “tax exempt under 501(c)(3) of the Code as a church.”

        45.    Section 7611(b)(3)(iv) requires the IRS provide a copy of “all documents which

were collected or prepared. . . for use” as the basis for its IRS’ reasonable belief that the Church

does not qualify as a church under section 501(c)(3).

        46.    In the IRS Notice of Church Examination dated September 7, 2021, the IRS

included copies of some of these materials. Taken individually or collectively, none of these

materials support an objectively sufficient “facts and circumstances” finding of any reasonable

belief that the Church is not organized or operated as a church with the IRS definition. Quite the

opposite: the available materials amply provide that the entity is a church.

        47.    The only “fact” that has been asserted by the IRS that the Church does not qualify

as a church is that it does not have a current description of its weekly worship services on the

internet.




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           48.      Such minor point hardly amounts to any objectively reasonable conclusion that

Church is not a church. Moreover, it completely mischaracterizes the facts. The Church’s

landing and home page11 of its website prominently states “God’s Storehouse is a church that

operates a thrift store . . . Our vision is to love God and love people; by doing so we hope to

make a lasting impact in the community in which we serve.” The Church’s landing and home

page to its website also includes a pop-up which displays for all viewers when arriving on the

page that invites the public to “JOIN US IN BIBLE STUDY” with an email address for more

information. The Church has submitted ample materials communicating that it meets regularly

for worship services and otherwise acts entirely as a religious house of worship. Thus, the IRS’s

assertion that the materials it provided constitute the requisite “reasonable basis” for asserting

that the Church is not tax exempt as a church under section 501(c)(3) is faulty.

           49.      Rather, upon information and belief, Petitioner believes that this church

examination was initiated at the behest of Pastor Kloos’ political opponents through the FFRF as

they claim on their website. Petitioner requested a copy of this complaint letter and any other

documentation on which the IRS relied to open its examination under the Freedom of

Information Act and 26 U.S.C. § 7611(c)(A)(iv) on October 13, 2021, December 21, 2021, and

January 5, 2022. A copy of the FFRF letter was noticeably absent from the documents included

with the IRS’s Notice of Examination.

           50.      On February 11, 2022, the IRS refused to release a copy of the FFRF Letter

pursuant to the Petitioner’s demands, claiming that the documents attached to the Notice of

Examination “are copies of all documents which were collected or prepared by the IRS for use in



11
     See https://www.gshtopeka.org/ (last accessed Feb. 21, 2022).

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such examination and the disclosure of which is required by the Freedom of Information Act, as

supplemented by section 6103. The Service has therefore satisfied all statutory and

administrative requirements to conduct a church tax examination under section 7611.”

       51.     Upon information and belief, the FFRF Letter demonstrates the improper purpose

under which the church examination here is being conducted – namely, that the IRS is carrying

out political retribution goals rather than legitimate tax enforcement and compliance.

   C. The Summons was Issued Pursuant to a Flawed Administrative Procedure.

       52.      Section 7611 also imposes additional administrative steps on the IRS when

undertaking a church examination. One such administrative requirement is the examination

notice. The Service must give the church written notice, by certified or registered mail, of its

intent to examine church records. The notice must include: (1) A copy of the inquiry notice

previously given to the church; (2) A description of all church records and activities that the

Service seeks to examine; (3) An offer of a pre-examination conference; and (4) Copies of all

documents that were collected or prepared by the IRS for use in such examination and the

disclosure of which is required by the Freedom of Information Act. See 26 U.S.C. § 7611.

       53.     Because they continually refuse to provide a copy of the FFRF Letter that

initiated this examination, the IRS has failed to comply with 26 U.S.C § 7611(b)(3)(A)(iv).

While it is unclear why the IRS refuses to acknowledge the existence of the FFRF Letter, it is

reasonable to infer that the IRS has a questionable basis for initiating this church audit, which

may be rooted in anti-religion animus (as reflected in FFRF’s name and mission), and therefore

the IRS is seeking more information than necessary to make its determinations.

       54.     Furthermore, the Notice of Examination was signed by Sunita B. Lough, the IRS’

Tax Exempt and Government Entities Division Commissioner. Under 26 U.S.C. § 7611, the

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approval of a “high level Treasury official” is required to initiate a church audit or examination.

It is presently unclear, as a legal matter, whether the IRS Tax exempt and Government Entities

Commissioner qualifies as the proper person to approve a church examination such as the one at

issue.

         55.    This immensely important definitional question has been on the IRS’ Priority

Guidance Plan for many years, without any resulting answer. The IRS’ failure to timely address

such matter has caused problems for many churches, through lack of clarity as to religious

organizations’ legal rights and protections. Such problem is of constitutional import, given all

churches’ religious liberty protection under the First Amendment from government intrusion.

Based on these problems, the IRS should not carry out any examination of the Church absent

requisite clarification and should not issue summonses such as involved here. This objection has

been preserved in the Petitioner’s correspondence with the IRS on November 19, 2021.


                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that the Court:

    a. Enter an Order quashing the third-party summons to Kaw Valley Bank in its entirety.

    b. Alternatively, modify the summons excluding all information deemed not to be necessary

         by the Court; and

    c. Award such other and further relief as to which Plaintiffs may be entitled.

                                          JURY DEMAND

         Plaintiffs hereby demand a trial by jury of all issues so triable pursuant to Rule 38 of the

Federal Rules of Civil Procedure and the Seventh Amendment of the United States Constitution.




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It is respectfully requested that the jury trial be held in Wichita, KS given its geographic

proximity to all plaintiffs.


                                       Respectfully submitted this 24th day of February 2022.

                                       KRIEGSHAUSER NEY LAW GROUP

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                                       *Admission for Pro Hac Vice forthcoming.




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